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                        UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF MASSACHUSETTS
                                 BOSTON DIVISION


STUDENTS FOR FAIR ADMISSIONS, INC.,

                              Plaintiff,

       v.

PRESIDENT AND FELLOWS OF HARVARD                          Civil Action No. 1:14-cv-14176-ADB
COLLEGE (HARVARD CORPORATION),

                              Defendant.



               MOTION TO SEAL CERTAIN INFORMATION FILED IN
             CONNECTION WITH HARVARD’S REPLY MEMORANDUM
             IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

       Pursuant to Local Rule 7.2 and the Stipulated Protective Order (Dkt. 55), Defendant

President and Fellows of Harvard College (Harvard Corporation) (“Harvard”) hereby moves this

Court for an order sealing (1) portions of Harvard’s reply memorandum in support of its motion

for summary judgment on all remaining counts; and (2) parts of the attorney declaration and

parts of certain exhibits filed in support of Harvard’s reply memorandum in support of its motion

for summary judgment. The materials that Harvard seeks to seal include information designated

by SFFA as Confidential or Highly Confidential–Attorneys’ Eyes Only pursuant to the

Stipulated Protective Order (Dkt. 55).

       Harvard requests that the documents subject to this Motion be impounded until further

order of the Court. In the event the Court has not previously ordered otherwise, Harvard’s

submissions should be returned to its undersigned counsel upon resolution of this matter.
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       WHEREFORE, Harvard respectfully requests that the Court grant this motion and allow

portions of Harvard’s reply memorandum in support of its motion for summary judgment and

parts of the attorney declaration and parts of certain exhibits filed in connection with Harvard’s

reply memorandum in support of its motion for summary judgment to be filed under seal on or

before August 30 and to be viewed only by the Judge, her clerk(s), and Court personnel.



                                              Respectfully submitted,


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Dated: August 27, 2018
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                                CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to all counsel of record via the CM/ECF system.



                                             /s/ Felicia H. Ellsworth
                                             Felicia H. Ellsworth




                            CERTIFICATE OF CONFERENCE

       In accordance with Local Rule 7.1(a)(2), I hereby certify that Students for Fair

Admissions, Inc.’s counsel was made aware of this motion before it was filed.



                                             /s/ Felicia H. Ellsworth
                                             Felicia H. Ellsworth
